      Case 1:10-cr-00071-DAD Document 106 Filed 05/12/11 Page 1 of 2


 1   DALE A. BLICKENSTAFF - #40681
     Attorney at Law
 2   2350 W. Shaw Ave, Suite 132
     Fresno, California 93711
 3   (559) 432-0986 Telephone
     (559) 432-4871 Facsimile
 4

 5

 6   Attorney for Defendant, NIMROD RAMIREZ

 7

 8                        UNITED STATES DISTRICT COURT - EASTERN

 9

10   UNITED STATES OF AMERICA,             )               Case No. 1:10-CR-00071 AWI
                                           )
11                     Plaintiff,          )               STIPULATION TO EXTEND
                                           )               DEADLINE TO FILE FORMAL
12   v.                                    )               OBJECTIONS
                                           )
13   NIMROD RAMIREZ,                       )
                                           )
14                     Defendant.          )
                                           )
15   _____________________________________ )

16          It is hereby stipulated by and between the parties hereto, through their respective counsel, that

17   the date for filing formal objections to the Presentence Report currently scheduled for May 27, 2011,

18   be continued to May 31, 2011. This continuance is to accommodate counsel for the defense who will

19   be returning to Fresno from a two- week vacation on May 27, 2011.

20   Dated: May 11, 2011                   /s/ Dale A. Blickenstaff
                                           DALE A. BLICKENSTAFF
21                                         Attorney for Defendant, NIMROD RAMIREZ

22

23   Dated: May 11, 2011                   /s/ Kathleen Servatius
                                           KATHLEEN SERVATIUS
24                                         Assistant United States Attorney

25

26

27

28
     STIPULATION TO EXTEND DEADLINE TO FILE FORMAL OBJECTIONS
     Case No. 1:10-CR-00071 AWI
      Case 1:10-cr-00071-DAD Document 106 Filed 05/12/11 Page 2 of 2


 1                                            ORDER

 2           IT IS HEREBY ORDERED that the new date for submitting formal objections is May 31,

 3   2011.

 4   IT IS SO ORDERED.
 5
     Dated:    May 11, 2011
 6   0m8i78                                      CHIEF UNITED STATES DISTRICT JUDGE
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     STIPULATION TO EXTEND DEADLINE TO FILE FORMAL OBJECTIONS
     Case No. 1:10-CR-00071 AWI                                                           Page 2
